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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                           Case No.: 17-23429-Civ-COOKE/GOODMAN


   PATRICIA RODGERS, CODY PYLE,
   JENNIFER RIBALTA, IZAAR VALDEZ,
   FELIX VALDEZ, JOANNA KIRBY, on
   behalf of themselves and all others similarly
   situated,

          Plaintiffs,
   v.

   MARK ADDY, JILLIAN ADDY,
   CODY MORROW, SUZANNE MORROW,
   GABRIEL SANDOVAL, JOHN TARTOL,
   LESLIE STANFORD, DANIELLE
   GRACE, ALCIDES MEJIA JR., PAULINA
   RIVEROS, CAROL ROSENAU, AMBER
   WICK, JORGE DE LA CONCEPCIÓN,
   DISNEY DI MARTINEZ, RYAN BAKER,
   DANIEL WALDRON, SUSAN
   PETERSON, MICHAEL KATZ, ALAN
   RODRIGUEZ, and MARY HOLLOWAY.

         Defendants.
   ________________________________________/
         PLAINTIFF FELIX VALDEZ’S NOTICE OF VOLUNTARY DISMISSAL
           WITHOUT PREJUDICE AS TO PLAINTIFF FELIX VALDEZ ONLY

          Plaintiff Felix Valdez, by and through his undersigned counsel, and Pursuant to

   Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby voluntarily dismisses without prejudice

   all claims asserted in this action against Defendants as to Plaintiff Felix Valdez only. This

   dismissal only pertains to Plaintiff Felix Valdez’s claims and does not effect the claims of

   Plaintiffs Patricia Rodgers, Cody Pyle, Jennifer Ribalta, Izaar Valdez, or Joanna Kirby.




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   DATED: August 10, 2021                               Respectfully submitted,

                                                        MARK MIGDAL & HAYDEN
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                                                           Attorneys of Plaintiffs




                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 10, 2021, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF.

                                                                By: s/ Yaniv Adar
                                                                       Yaniv Adar, Esq.




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